     Case 2:23-cv-01939-WBS-AC Document 15 Filed 09/28/23 Page 1 of 2


 1

 2

 3

 4

 5

 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                     SACRAMENTO DIVISION
11

12
     X CORP.,                                             2:23-CV-01939-WBS-AC
13
                                           Plaintiff, ORDER APPROVING STIPULATION
14                                                    TO EXTEND TIME FOR DEFENDANT
                    v.                                TO RESPOND TO COMPLAINT
15

16   ROBERT A. BONTA, ATTORNEY GENERAL                    Judge:        Hon. William B. Shubb
     OF CALIFORNIA, IN HIS OFFICIAL CAPACITY,             Trial Date:   None set
17                                                        Action Filed: September 8, 2023
                                         Defendant.
18

19

20         On September 27, 2023, Plaintiff X Corp. and Defendant Attorney General Rob Bonta filed
21   a Stipulation to Extend Time for Defendant to Respond to Complaint. Attorney General Bonta’s
22   current deadline to file a response to the Complaint is October 2, 2023. The parties have
23   stipulated that Defendant’s deadline should be extended until Plaintiff’s forthcoming motion for
24   preliminary injunction has been fully resolved. Having reviewed the stipulation and good cause
25   appearing, the Court hereby approves the parties’ stipulation and ORDERS that Defendant’s
26   response to the Complaint shall be due as follows:
27

28
                                                      1
                                                                          Order (2:23-CV-01939-WBS-AC)
     Case 2:23-cv-01939-WBS-AC Document 15 Filed 09/28/23 Page 2 of 2


 1      a) If any party timely appeals this Court’s order on Plaintiff’s motion for preliminary

 2         injunction, Defendant’s deadline to respond to the Complaint shall be 21 days after the

 3         Ninth Circuit issues its mandate in the appeal;

 4      b) If no party timely appeals this Court’s order on Plaintiff’s motion for preliminary

 5         injunction, Defendant’s deadline to respond to the Complaint shall be 21 days after the

 6         expiration of the time period designated to file such an appeal.

 7   IT IS SO ORDERED.

 8

 9   Dated: September 28, 2023

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     2
                                                                         Order (2:23-CV-01939-WBS-AC)
